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6                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF WASHINGTON
7
      UNITED STATES OF AMERICA,
8
                                               NO. CR-09-0015-EFS-10
                       Plaintiff,
9
                                               PRELIMINARY ORDER OF
                 v.                            FORFEITURE
10

11    RANDY M. LEONG (10),

12                     Defendant.
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14
          Pursuant to Federal Rule of Criminal Procedure 32.2(b), IT IS HEREBY
15
     ORDERED: Defendant shall forfeit the assets, as outlined below, to the
16
     United States pursuant to 21 U.S.C. § 853, as property constituting or
17
     derived from proceeds obtained, directly or indirectly, as a result of
18
     the violations to which Defendant pled guilty, and as property used, or
19

20   intended to be used, in any manner or part, to commit, or to facilitate

21   the commission of those violations, including:

22        1) $98,413.00 U.S. Currency seized on or about February 24, 2009.

23        2) $39,039.00 U.S. Currency seized on or about February 24, 2009.
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     ORDER ~ 1
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1          IT IS SO ORDERED. The District Court Executive is directed to enter
2    this Order and to provide copies to all counsel.
3
           DATED this       26th             day of January 2010.
4

5
                                        s/Edward F. Shea
6                                       EDWARD F. SHEA
                                 United States District Judge
7

8    Q:\Criminal\2009\15.10.prelim.forfeit.wpd

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     ORDER ~ 2
